          Case 1:23-cv-02672-CRC Document 6 Filed 11/09/23 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA




 CLEAN AIR COUNCIL,                                      Case No. 1:23-cv-2672 (CRC)
 ENVIRONMENTAL INTEGRITY
 PROJECT, and CITIZENS FOR
 PENNSYLVANIA’S FUTURE,

                        Plaintiffs,
                  v.

 MICHAEL S. REGAN, in his official
 capacity as Administrator, U.S.
 Environmental Protection Agency,

                        Defendant.




                                      MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendant Michael S. Regan, in his

official capacity as Administrator of the United States Environmental Protection Agency

(“EPA”), hereby moves to dismiss Plaintiffs’ complaint as moot. The grounds for this motion

are as follows:

       1. On September 12, 2023, Plaintiffs filed a complaint against Defendant seeking an

order declaring that Defendant is required to decide Plaintiffs’ petition requesting that the EPA

Administrator object to the Clean Air Act Title V Permit issued to the United States Steel

Corporation by the Allegheny County Health Department. ECF No. 1 at 7-8.




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           Case 1:23-cv-02672-CRC Document 6 Filed 11/09/23 Page 2 of 3




       2. Plaintiffs also requested that the Court order Defendant to decide Plaintiffs’ petition

within 60 days and “[r]etain jurisdiction” until Defendant complies with the order. Id. at 8.

       3. On September 18, 2023, the EPA Administrator decided Plaintiffs’ petition and issued

an order of decision. In the Matter of United States Steel Corporation, Clairton Coke Works,

Order on Permit No. 0052-OP22 (September 18, 2023),

https://www.epa.gov/system/files/documents/2023-10/us-steel-clairton-order_9-18-23.pdf.

       4. EPA’s decision on Plaintiffs’ petition gave Plaintiffs’ all the relief they could have

obtained from their complaint and there is no remaining case or controversy between the parties.

Lewis v. Cont'l Bank Corp., 494 U.S. 472, 477 (1990). (The live case-or-controversy requirement

subsists “through all stages of federal judicial proceedings.”)

       5. Therefore, the Court should dismiss Plaintiffs’ claim as moot. Mittleman v. Postal

Regul. Comm’n, 757 F.3d 300, 303 (D.C. Cir. 2014) (holding that a claim becomes moot once

“the court can provide no effective remedy because a party has already obtained all the relief that

it has sought”).

       Accordingly, Defendant respectfully requests that the Court dismiss Plaintiffs’ complaint

as moot.



Dated: November 9, 2023


                                                 Respectfully submitted,


                                                 TODD KIM
                                                 ASSISTANT ATTORNEY GENERAL
                                                 Environment and Natural Resources Division

                                                       /s/Shari Howard
                                                  Shari Howard
                                                  Trial Attorney

                                                     2
Case 1:23-cv-02672-CRC Document 6 Filed 11/09/23 Page 3 of 3




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